           Case 1:18-cv-01050-WKW-SRW Document 1 Filed 12/18/18 Page 1 of 4


     IN THE UNITED STATES FEDERAL DISTRICT COURT MONTGOMERY,ALABAMA

Angela Nails,
    Plaintiff,
vs.                                           1318 DEC 1 8 A CI:         e Number

Vaughn Towers,
                                            DECRA P. kl,r,Mi:ETT,
                                             U.S. E;!STRICT COURT
                                                                            ig-CA/- 1050-             eco-s0A1
    Defendant,                                     E DISTRICT /0
                                            COMPLAINTIANT

       The Plaintiff clthm is base on the fair housing laws Federal Laws 42 U.S. Race Discrimination.

The Plaintiff rights were violated by the Defendant asking the Plaintiffto move after the Plaintiff was

assaulted and the Dothan Police Department was called a resident who lived in the same building used

her legs and feet to strike the Plaintiff using force to kick the Plaintiff leaving bursing on the Plaintiff

leg(s). The Defendant did nothing to the white female and did ask the African American female to

move because of the other resident behavior on August 30,2006,the Plaintiff civil rights were violated

and the act of harm which occurred on August 30,2006 a housing complaint was filed and an

investigation complaint base on the race discrimination violation ofthe offender name(Mary)

Investigation Report # 04-06-1296-8.


                                                DAMAGES

The Plaintiff damages is $150,000.00 over the amount ofthe jurisdiction ofthe court. The damages

come from the complaint and the Federal Law race discrimination.



                                   DEFENDANT SERVICE ADDRESS

342 South Saint Andrews Street Dothan,Alabama 36301.
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                        ANGELA NAILS
                        (313)805-8944
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                                      NOTICE OF MAILING

The Plaintiff used Regular United States Mail on December 6,2018 to mail the Plaintiff complaint to

United States Disrict Court Building Frank M. Johnson Jr. One Church Street Montgomery, Alabama

36104.




                                             e\O   \\\11
                                            GELA NAILS
                                          (313)805-8944
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